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Nicholas E. Porter



November 19th, 2023
To: The Honorable Stanley A. Bastian
PO Box 2706
Yakima, WA 98907


RE: In Regards to Bryce Q. Hale




Dear Honorable Stanley A. Bastian,

My name is Nicholas Porter. I am a machinist with over 30 plus years in machine technology, research
and development. I am a lifelong learner as a modern maker, who enjoys the exchange of knowledge
and skill sets. I am Bryce’s father.

I am writing you today in regards to Bryce and my relationship with him. Bryce was a major part of my
life until he was almost eight years old. He is my second child and has an older brother named Ky. When
Bryce came into my life I started working a graveyard shift. This was a blessing that allowed me to spend
time with them during day and take a few classes at the community college. The boys never had to deal
with daycare. By the time Bryce started preschool I had become fulltime student at OSU. I scheduled my
classes for in the morning and evenings. During this time I was able to take him and his brother Ky to
and from school which was about five blocks away from our home. When at home I would be studying
or working on a project while they played.

 Occasionally I would be working on a project and Bryce would be show interest in what I was working
on and be at my side observing; asking question. He enjoyed watching me put together a presentation
of the workings of miniature 2-cycle motor which involved dissecting the components and mounting
them on a display board with diagrams. He was at my side when I built a simple model bridge out of
Popsicle sticks and glue for class on stress and dynamics. I gave him a bunch of the sticks and we shared
the bottle of glue, some tape and clothes pins for clamping. We both made more of a mess than bridge.
He took part in building a rubber band powered vehicle for an engineering competition at OSU. He even
donated tires off one of his toy trucks for the vehicle. In some ways he became my little study partner at
times. His involvement and teaching him has help me to learn.

Early on Bryce had an interest in building, the working of mechanical devices, machines, and tools. He
enjoyed legos and watching battle bots on TV. When Bryce was about four years old he saw a garbage
truck with a robotic arm that grabbed the garbage can, lift it up over the side of the truck, and dump the
contents. He was in awe watching this machine in action and decided he wanted to be a garbage man.



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One time he asked to barrowed a screwdriver to fix something. I was doing homework at the time. He
has used one before to put new batteries in a toy or two. I didn’t think twice and gave him the nod. I
could hear him making some noise in his room, mostly the sound of him rummaging in his toy box.
When I finished with my homework I went to check on him. I found him sitting on the floor with a bunch
of his toys disassembled and torn apart to see how they work. I tried not to show it but I was a bit
surprised. I turned away and hid my smiled for I had done the same thing when I was his age. As I walk
away I firmly told him he had better put them pack together.

Bryce would sometimes visit me at work and I would show him the world of American machining and
manufacturing. On one visit I showed him how to cut a bar of steel on a chop saw. With safety glasses
on and him standing a safe distance back I cut into that steel and put on a show making sparks fly.
Sometimes it feels good to show off. Kids at a young age can be so impressed over simple things that
dads can do; whether it be simple magic trick, popping a wheelie on a bike, or just hitting the backboard
of a basketball hoop. Looking over at him and seeing his big smile and hoping up and down made me
feel cool. I knew someday though, that they would grow up and that it would take a lot more to be that
cool than just hitting a backboard with a basketball or making sparks fly.

Bryce was a brave little boy and at times a bit stubborn little boy. His bravery and stubbornness had its
moments and could test me as a parent. There was a time that I was pushing him on the swing at a
nearby park. I was pushing to the height of my head, back and forth. Then as he came back to me and as
I was pushing he said, “Watch!” In that moment I saw him quickly shift in the swing and at the apex he
jumped. He flew out of the swing a bit sideways and came down hard onto the ground knocking the
wind out of him. In shock I went to him and helped him up, checking him over as he was trying to
catching his breath. Holding back his tears he looked at me and said, “Did you see that? I caught big Air.”
I was mad and gave him an ear full as we walked back home.

Bryce was not a shy little boy. He was very friendly and carried his smile well. When we would go
camping he would smile and waving and saying hi to the people he encountered. By the end of the
weekend most the people in the campground would know him by name.

I lost sight of Bryce when he was young. He was swept away from my life over a divorce that ended a
ten years of marriage. Bryce was a sleep when I left our home. I left because that is what I was told to
do. As a man you must leave. What and why this event took place is hard to fully understand. What Is
loved does damage to the heart, that love turns to hate. This hate will then give fuel to all that becomes
ignorantly involved in a slanted quest to resolve. All this did was create more suffering. Non of this was
Bryce’s fault he was just a boy.

Years have gone by with only a few brief glimpses of Bryce. He was always on my mind. Every day I
thought of him. Missing him brought so much sadness. All I could do is hope and pray.

Now before me stands a grown man with the same eyes and smile of that little boy that I knew. I have
missed out on so much. I am just getting to know him in such short time. I know that he worked long
hours. His grandma and I, with my girlfriend Kendra, would come to visit him. He was working grave
yard. When he got off work he would bring us coffee. We sat for hours and talked of days gone by. We
have all missed out on so much.




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I don’t know what has happened to Bryce in my absence. I don’t know why he did this wrong that has
gotten him in trouble. This is not what I wanted for this boy I knew. I have so many question why.

I blame myself for my absence. I am angry and want to understand and know what has happened to the
boy I knew that led him here today. I am angry at the hate and the ignorant that kept me away.

I understand that Bryce must be held accountable for what he has done. I want him to get the help he
needs. I would like to see him get help and guidance for what he has done. I don’t want his mind idles in
his darkness for his wrong doing. This would turn to something ugly in ones soul. That is not
accountability. Give him the tools to show that he is accountable. One can not just be spanked and put
in the corner without being told what they have done is wrong. Why they shouldn't have done it. They
must also so show understanding and that they are sorry.

In his heart he is good. In his soul he is brave. In his hands he is a builder. Please your honor let him face
his wrong doing, give him the tools to fix himself, and to show he is accountable.



Sincerely,



Nicholas E. Porter




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